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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

  RUBA AL AYED                                       )
                                                     )   No. 1:22-cv-3993
                     Plaintiff,                      )
                                                     )   Hon. Jorge L. Alonso
                         v.                          )   District Court Judge
                                                     )
  ROUNDY’S ILLINOIS, LLC D/B/A                       )
  MARIANO’S                                          )
                                                     )   JURY DEMAND
                    Defendant.                       )
                                                     )

   PLAINTIFF’S MOTION FOR EXTENSION OF TIME TO FILE RESPONSE TO
  DEFENDANT’S FRCP 12(b)(6) MOTION TO DISMISS, SO AS TO SYNCHRONIZE
           BRIEFING SCHEDULES ON ALL (14) RELATED CASES,
                 IN LIEU OF PENDING MOTION TO STAY

       NOW COMES Plaintiff, and for her Motion For Extension of Time to File Response To

Defendant’s FRCP 12(b)(6) Motion To Dismiss, So As to Synchronize Briefing Schedules on

All (14) Related Cases, In Lieu of Pending Motion to Stay, states as follows:

   1. This matter comes before the Court after 23 Plaintiff claims, that had been filed

together in the matter of Cunningham v. Roundy’s Illinois, LLC, Case No. 21-cv-05368, were

severed from Cunningham. See Cunningham, Dkt. No. 29.

   2. After that severance, 14 Plaintiffs filed individual actions. This case is one of those

individually filed claims that was randomly reassigned to this Court. Defendant has moved to

dismiss all 15 claims. For this case, see Dkt. No. 13.

   3. As this Court is aware, in Cunningham, Plaintiff has asked Judge Kendall, to consolidate

the other 13 cases (including this case) that are currently pending before 11 different judges,

based upon the assertion that Defendant’s motion to dismiss is premised upon the exact same set

of facts and the exact same application of law. Indeed, all 15 of the motions to dismiss filed by




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Defendant are identical in fact and law, and Defendant filed a near identical dismissal pleading in

each case.

   4. In each of the cases in which Defendant has moved for dismissal, the various Plaintiffs

have, like here, requested each Court to stay the briefing schedules pending the outcome of

Judge Kendall’s ruling on the Motion to Consolidate in Cunningham. This Court entered and

continue that Motion to Stay, and it currently set for October 13, 2022. See Dkt. No. 17.

   5. The other requests to stay before the various assigned judges have met with mixed

results, with a majority of the opinion to date being that Plaintiffs should now respond to each of

the motions to dismiss and that briefing be completed while Judge Kendall considers the Motion

to Consolidate pending in Cunningham.

   6. All Plaintiffs accept that collective sentiment, and thus this Motion For Extension of time

to respond to Defendant’s dismissal motion. This Motion seeks to synchronize the briefing

schedule on Defendant’s Motion to Dismiss with the other 14 briefing schedules and render moot

further briefing on Plaintiff’s various Motions to Stay (some of the Motions to Stay in other

courts remain pending). To date, five (5) cases have taken the lead in that regard and three (3)

judges have assigned a uniform date of October 20, 2022 for Plaintiff’s response: two (2) cases

assigned to Judge Johnson Coleman, (2) cases assigned to Judge Guzman, and one (1) case

assigned to Judge Shah.

   7. Plaintiff herein requests that this Court enter an Order setting Plaintiff’s response to

Defendant’s Motion to Dismiss for October 20, 2022, so as to coincide with the briefing set by

Judges Johnson Coleman, Guzman and Shah.

   8. As of the day of this filing, Plaintiffs in the remaining seven (7) cases have requested

those judges to also synchronize these briefing schedules and assign the Plaintiffs therein the

same October 20, 2022 date for all responses to Defendant’s Motion to Dismiss.


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    9. Additionally, lead counsel for Plaintiffs in all the cases, John W. Billhorn, in scheduled

to be in central Illinois several days the week of October 10, 2022 tending to family health

matters involving his elderly father. The requested date would accommodate counsel’s

responsibilities in that regard.

    10. Defense counsel, Christopher Griesmeyer, was consulted on Defendant’s position

regarding the synchronization of the briefing schedules as described herein. By email, Mr.

Griesmeyer demurred to Plaintiff’s request and would not agree to the request as presented.

        WHEREFORE, Plaintiff AlAyed hereby requests this Court to 1) enter and Order

granting her Motion For Extension of Time to File Response To Defendant’s FRCP 12(b)(6)

Motion To Dismiss so As to Synchronize Briefing Schedules on All (14) Related Cases, 2) enter

an order setting October 20, 2022 as the due date for Plaintiff’s response to Defendant’s

dismissal motion, 3) establish a date for Defendant’s reply in support of its dismissal motion, 4)

strike as moot Plaintiff’s pending Motion to Stay, and 5) for such other relief the Court deems

appropriate under the circumstances.



                                                     Respectfully submitted,

                                                     Electronically Filed 10/06/2022

                                                     /s/ John W. Billhorn
                                                     ___________________________


                                                     John W. Billhorn
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